        Case: 5:17-cv-00404-KKC Doc #: 43 Filed: 10/09/18 Page: 1 of 1 - Page ID#: 169




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF KENTUCKY
                                      (LEXINGTON DIVISION)
       STEPHANIE M. JOHNSON                                                                PLAINTIFF


         v.                                                        CASE NO.: 5:17-cv-00404-KKC


       EXPERIAN INFORMATION                                                             DEFENDANTS
       SOLUTIONS, INC.
                          AGREED ORDER OF DISMISSAL

              Upon agreement of the Plaintiff, Stephanie Johnson, and the Defendant, Experian

       Information Solutions, Inc., each by counsel, and the Court being otherwise sufficiently advised;

               IT IS HEREBY ORDERED that Plaintiff's claims asserted in this litigation against

       Experian Information Solutions, are hereby DISMISSED WITH PREJUDICE, each party to

       bear its own attorneys' fees and costs. This matter is STRICKEN from the active docket.



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October 9, 2018
